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                             CFTC v. THEYE

             ESTIMATED CLOSING COSTS AND EXPENSES

RECEIVER:

     Complete the preparation and filing of the Receiver's closing
petition; provide information to accountants for preparing and filing tax
return; monitor collection of settlements; assign judgments; assign
settlement agreements; pay approved receivership expenses; review,
approve, and execute final tax return for receivership; respond to
investor inquiries; supervise storage and retention of documents
related to receivership; and close receiver's bank account.

     7 hours x $280.00   =$1,960
RECEIVER'S ATTORNEYS SCHEEF & STONE:

     Assist Receiver with tasks set forth above; obtain stipulated
judgment from bankruptcy court in Famisaran matter that secures
settlement agreement; monitor and assist in collection of settlement
monies; respond to investor inquiries; provide information required by
accountants; assist in gathering documents related to receivership and
putting same in storage.

     7 hours x $275.00 =$1,925
     Storage expense and other miscellaneous expenses:         $115

RECEIVER'S ACCOUNTANTS:

     Prepare and file tax return for receivership estate:

TOTAL CLOSING FEES AND EXPENSES:                               $6,500
